   Case 2:18-cv-03837-SJO-SK Document 26 Filed 10/25/18 Page 1 of 2 Page ID #:268

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-03837 SJO (SKx)                                        Date   October 25, 2018
 Title             Seoul Semiconductor Co., Ltd, et al v. Bed Bath and Beyond, Inc.




 Present: The                    S. JAMES OTERO
 Honorable
            Victor Paul Cruz                               Carol Zurborg
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                  Stacey Hsiang Chun Wang                                   Brian D. Ledahl
                   Vito Anthony Costanzo                                     Ghazly Iman
                  Michael Bradley Eisenberg
 Proceedings:                 SCHEDULING CONFERENCE

Matter called.

Each side presents their respective tutorial.

The Court sets the following schedule:

Preliminary Infringement Contentions:                     11/9/2018

Preliminary Invalidity Contentions:                       1/11/2019

Exchange Proposed Terms for Construction:1/25/2019

Exchange Damages Contentions:                             3/2/2019

Joint Claim Construction Statement:                       3/12/2019

Claim Construction Discovery Cutoff:                      4/11/2019

Claim Construction Opening:                               4/26/2019

Claim Construction Opposition:                            5/10/2019

Claim Constriction Reply:                                 5/17/2019
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
   Case 2:18-cv-03837-SJO-SK Document 26 Filed 10/25/18 Page 2 of 2 Page ID #:269

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-03837 SJO (SKx)                                       Date   October 25, 2018
 Title          Seoul Semiconductor Co., Ltd, et al v. Bed Bath and Beyond, Inc.

Claim Construction HearingL                          6/6/2019 @ 2:00 p.m.

Final Contentions:                           14 days after Claim Construction ruling

Last Day to Produce Documents or
Serve Written Discovery Requests:                    6/26/2019

Fact Discovery Cutoff:                               7/26/2019

Initial Expert Reports:                              8/23/2019

Rebuttal Expert Reports:                             9/20/2019

Expert Discovery Cutoff:                             10/19/2019

Dispositive Motion Cutoff:                           10/25/2019

Pretrial Conference:                                 Monday, January 13, 2020 @ 9:00 a.m.

Jury Trial:                                          Tuesday, January 21, 2020 @ 9:00 a.m.



cc:      ADR Coordinator




                                                                                           :    0/59
                                                          Initials of Preparer           vpc




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                               Page 2 of 2
